         Case 1:20-cv-08495-JPC Document 70 Filed 06/26/23 Page 1 of 1




                                                         June 26, 2023

VIA ELECTRONIC CASE FILING
Honorable John P. Cronan
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Daniel Retter v. Bolivarian Republic of Venezuela
               Case No.: 1:20-cv-08495 (JPC)

Dear Judge Cronan:

       We represent the Plaintiff in the above-referenced matter and we write in response to the
Court’s Order dated June 25, 2023 (DE 69).

        The Plaintiff would like to submit additional documentary evidence and an affidavit in
further support of his motion for a default judgment and appreciates the opportunity to do so

.      Accordingly, Plaintiff respectfully requests an adjournment of the default judgment
hearing scheduled for June 27, 2023.

       Plaintiff respectfully requests an August date if amenable to the Court.

                                                         Respectfully submitted,

                                                         PARDALIS & NOHAVICKA, LLP

                                                         /s/ Todd       B. Sherman
                                                         Todd B. Sherman, Esq. (TS 4031)
                                                         950 Third Avenue, 11th Floor
                                                         New York, New York 10022
                                                         Tel: (212) 213-8511; Fax: (347) 897-0094
                                                         E-Mail: todd@pnlawyers.com
                                                         Attorneys for Plaintiff




      950 THIRD AVENUE, 11TH FLOOR, NEW YORK, NY 10022 | 35-10 BROADWAY, SUITE 201, ASTORIA, NY 11106
                  P: 212.213.8511 | F: 347.897.0094 | Todd@pnlawyers.com | www.pnlawyers.com
